Case 3:23-cv-00175-DEW-KDM             Document 50     Filed 01/06/25     Page 1 of 3 PageID #:
                                             435



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


 MAYA DETIEGE and DAYNE SHERMAN                             CIVIL ACTION NO. 3:23-cv-175

 VERSUS

 KATRINA JACKSON, in her official                           JUDGE WALTER
 and individual capacities
                                                            MAGISTRATE JUDGE KAYLA D.
                                                            MCCLUSKEY

                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        NOW COMES Defendant Katrina Jackson, in both her official and individual capacities,

 who moves pursuant to Federal Rule of Civil Procedure 56, and for the reasons detailed in the

 accompanying memorandum in support, for dismissal of all claims filed by Plaintiffs Maya

 Detiege and Dayne Sherman because there is no genuine issue of material fact and Senator Jackson

 is entitled to judgment as a matter of law.




                                                1
Case 3:23-cv-00175-DEW-KDM   Document 50    Filed 01/06/25    Page 2 of 3 PageID #:
                                   436



  Dated: January 6, 2025            Respectfully submitted,

                                     /s/ Caitlin Huettemann
                                    CAITLIN HUETTEMANN (La #40402)
                                     Assistant Solicitor General
                                    OFFICE OF THE LOUISIANA ATTORNEY GENERAL
                                    1885 North Third Street
                                    Baton Rouge, LA 70804
                                    Telephone: (225) 326-6766
                                    Facsimile: (225) 326-6795
                                    huettemannc@ag.louisiana.gov

                                    BY: /s/ Thomas M. Hayes, IV
                                    Thomas M. Hayes, IV (La # 28600)
                                    HAMMONDS, SILLS ADKINS, GUICE,
                                    NOAH & PERKINS, L.L.P.
                                    1500 N. 19th Street, Suite 301
                                    Monroe, Louisiana 71201
                                    Telephone: (318) 324-0101
                                    Facsimile: (318) 322-5375
                                    Email: thayes4@hamsil.com

                                    Counsel for Defendant Katrina Jackson




                                     2
Case 3:23-cv-00175-DEW-KDM             Document 50       Filed 01/06/25      Page 3 of 3 PageID #:
                                             437



                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2025, pursuant to Federal Rule of Civil Procedure

 5(b)(2)(C), a true and correct copy of the foregoing Motion, and all attachments thereto, was served

 by CM/ECF.

                                                      Respectfully submitted,


                                                       /s/ Caitlin Huettemann
                                                      CAITLIN HUETTEMANN (La #40402)
                                                       Assistant Solicitor General
                                                      OFFICE OF THE LOUISIANA ATTORNEY
                                                      GENERAL
                                                      1885 North Third Street
                                                      Baton Rouge, LA 70804
                                                      Telephone: (225) 326-6766
                                                      Facsimile: (225) 326-6795
                                                      huettemannc@ag.louisiana.gov

                                                      Counsel for Defendant Katrina Jackson




                                                  3
